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EXHIBIT 22

REDACTED VERSION OF
DOCUMENT SOUGHT TO BE
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25

 

THE DEPONENT: Yeah, but I -- that --

 

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1 of disgorgement that remain in your report? 1 well, if you are asking me to confirm the math, the
2 A. I think it's just the either/or. It's 2 answer is yes. I -- I don't think it's directly
3 either the nothing or everything. 3 applicable, however, that it's the -- the
4 An economist has his head -- it's a hard 4 hypothetical negotiation is a different construct
5 time to get head around how you think about valuing | 5 than -- than the disgorgement.
6 things without thinking about what alternatives are 6 So as I said earlier to Mr. Ragland,
7 available. 7 in -- I don't think you can lift a parameter out of
8 And I -- I don't mean this to be nasty in 8 one and apply it to the other.
9 any sense, but I just think Mr. Malackowski is 9 Q. (By Ms. Hurst) Allright. So let's
10 wrong about this matter, that is embedded in his 10 explore that for a second.
11 analysis is a but-for. And the but-for in his is, ll Professional Kearl, do you think, though,
12 Android would not exist. But that's still a 12 to the extent that both of those constructs are
13 but-for analysis. I mean, if you are going to 13 designed to try to measure value, they should still
14 give -- if you are going to allocate all of the 14 come out in roughly the same ballpark?
15 profits, disgorge all of the profits, you're really 15 <A. No. Because they are -- they are trying
16 saying that it wouldn't be here except for these 16 to measure something different. As -- as I
17 37 APIs. That in -- the way I'm using but-for, 17 understand it, disgorgement is that you take away
18 that's a but-for analysis. 18 from the infringer all of the gain they got from
19 Q. Now, going back to that constructive 19 using the product.
20 license royalty from the last time, it was about 20 The hypothetical negotiation is, you ask.
21 20 percent on gross ad revenues, was what you 21 what's the expected incremental contribution of the
22 concluded that royalty would be, in addition to the | 22 technology to the profits of the infringer. And
23 $100 million; is that right? 23 then as I said earlier, then how would the parties
24 A, I would have to go back and look at the 24 agree to split that in some way, and then how would
25 report for the details, so -- but I don't remember. 25 they then monetize that in terms of a royalty or a
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1 I mean, it's in that range, yes. 1 royalty rate.
2 Q. Do you recall that there was an element | 2 And the disgorgement is ex post, that is
3 of it that was 20 percent of the gross margin ad | 3 it looks at, you know, how much Google made from
4 revenues? 4 this. The constructive license hypothetical
5 A. Yes. 5 negotiation says, at the time before infringement
6 Q. And if you accept -- well, the parties 6 occurs, when they were looking forward, how
7 roughly agree on what the gross ad revenues are) 7 profitable do they think it would be. And there's
8 here, right? 8 no reason why the ex-post profit should be equal to
9 A. I think it's not just roughly, they 9 the ex-ante expected profits.
10 agree. 10 Q. Unless their forecasts were good.
il Q. They have agreed. 11 A. Yes, unless they forecast -- unless they
12 A. Yes. 12 were clairvoyant and saw exactly what the future
13. Q. And that number -- 13 was.
14. A. Well, I don't know that the parties 14. _Q. And do you recall that your table 2 in
15 agree. The experts have essentially the same 15 your first report had a forecast of about
16 ad revenues. | GR «ss -- at the same point in time that
17. Q._:~And that's 17 we're now looking at
18 <A. Yeah, it's almos and then 18 MR. RAGLAND: Objection. Form.
19 sort of comes down from there. 19 THE DEPONENT: Yeah, let's be careful
20 Q. Allright. So ifwe go with thes 20 about whose forecast this was.
21 the total pool of revenue, just applying your 21 Q. (ByMs. Hurst) Right. My apologies.
22 20 percent to that, that would be [. 22 It -- it recited a Google forecast.
23 right? 23. A. Yes. There was the -- the -- in my first
24 MR. RAGLAND: Objection. Form. 24 report, I faced the same problem I face in this

 

25 report, which is you had widely differing

 

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Exhibit 22 to Mullen Declaration - Deposition Testimony of James Kearl

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